                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

ANN M. PANNETTA,                    :
                         Plaintiff, :
      vs.                           :
                                    :
MILFORD CHRYSLER SALES INC. et al.; : Civil Action No.: 14-cv-5680-JD
                 Defendants.        :

                        PLAINTIFF’S RESPONSE IN OPPOSITION TO
                          DEFENDANT FIRST NATIONAL BANK’S
                        MOTION TO DISMISS AMENDED COMPLAINT

       Plaintiff answers in opposition to the Motion to Dismiss plaintiff’s First Amended

Complaint of Defendant/Movant FIRST NATIONAL BANK (“FNB”) as follows:

I.     Summary of Facts/Argument

       The First Amended Complaint (“FAC”) for the instant case alleges claims against a car

dealer and its agents and assignee engaging in predatory lending and deceptive sales practices from

sale of a collision related frame damaged used vehicle (FAC ¶¶ 62-67) on unaffordable terms to an

elderly fixed income consumer (FAC ¶¶ 13, 23-25, 32-35).

       Movant makes two (2) factual arguments regarding plaintiff’s Count I TILA claims: 1) that

there are no defects apparent on the face of the credit disclosures, and; 2) plaintiff’s math is wrong

as to calculation of the required disclosure items including the amount financed. Both arguments

improperly seek to use the vehicle of a 12b6 motion to dismiss plaintiff’s action by disputing a

factual cornerstone of her allegations, namely that the $5,600 down payment is facially defective in

the TILA disclosures.

       FNB’s reference to an arbitration clause and related citation of clauses in the BO and RISC

in its statement of facts is not otherwise the basis of legal argument in the body of its motion so

plaintiff does not address it further herein other than to state that Pennsylvania appellate law does

not support the validity or enforcement of a forced arbitration clause outside the terms of a RISC,

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see Knight v. Springfield Hyundai, 3089 EDA 2012 (Pa. Super., Dec. 2, 2013). This offhand

reference to facts irrelevant to its arguments occupies roughly 2 ½ pages of its motion from the end

of page 2 through the middle of page 5 and wastes the parties’ and the Court’s time in the process.

II.     Standard

        1. Motion to Dismiss: Fowler re Twombly and Iqbal

        Reversing the District Court’s 12(b)(6) dismissal upon claims of insufficient specificity, the

Third Circuit held the United State Supreme Court in Twombly and Iqbal (in accord with Phillips)

merely requires that the Complaint “set out ‘sufficient factual matter’ to show that the claim is

sufficiently plausible… [allowing] the reasonable inference that the defendant is liable for the

misconduct alleged.” Fowler v. UPML Shadyside - - F. 3d - -, 2009 WL 2501662 (C.A.3 (Pa)

2009) (quoting Ashcroft v. Iqbal, 129 S.Ct. 1955 (2009)); Bell Atlantic Corp. v. Twombly, 550 U.S.

544 (2007); Phillips v. County of Allegheny, 515 F.3d 224, 230 (C.A.3 2008).

        Fowler reiterated the appropriate Motion to Dismiss standard, as elucidated in Phillips,

remaining: “courts [must] accept all factual allegations as true, construe the Complaint in the light

most favorable to the plaintiff, and determine whether, under any reasonable reading of the

Complaint, the plaintiff may be entitled to relief.”      Fowler, supra (quoting Phillips, at 233)

(emphasis added). “Although Fowler’s Complaint is not as rich with detail as some might prefer, it

need only set forth sufficient facts to support plausible claims.” Fowler (citing Twombly, at 564,

n.8).

        “Even post-Twombly, it has been noted that a plaintiff is not required to establish the

elements of a prima facie case but instead, need only put forth allegations that ‘raise a reasonable

expectation that discovery will reveal evidence of the necessary element.’” Fowler, supra; (quoting

Graff v. Subbiah Cardiology Associates, Ltd., 2008 WL 231 2671 (W.D. Pa. 2008) Phillips, at 234.



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Thus, courts should not dismiss a complaint for failure to state a claim if it “contain[s] either direct

or inferential allegations respecting all the material elements necessary to sustain recovery under

some viable legal theory.” Montville Twp. v. Woodmont Builders LLC, No. 05-4888, 2007 WL

2261567, at *2 (3d Cir. 2007) (quoting Twombly, at 1969). In fact, a Plaintiff need not plead any

causes of action (merely facts with request for relief). See 2 James Wm. Moore et al., Moore's

Federal Practice P 8.04[3].

        “Under the Federal Rules of Civil Procedure, an evidentiary standard is not a proper

measure of whether a complaint fails to state a claim.” Fowler, supra “…[S]tandards of pleadings

are not the same as standards of proof.” Id. “[A] well-pleaded complaint may proceed even if it

strikes a savvy judge that actual proof of those facts alleged is improbable and that a recovery is

very remote and unlikely.” Id. (quoting Twombly, at 556).

        2. Amended Pleading

        A Plaintiff should be provided an opportunity to file an Amended Complaint if it appears

that the deficiencies can be corrected. Twombly, supra.; See, 2A J. Moore, Moore’s Federal

Practice ¶12.07 [2.-5], P.12-99 (2d ed. 1994); accord, In re Spree.com Corp., 2001 WL 1518242

(Bankr. E.D. Pa. 2001). Under this liberal pleading standard, courts should generally grant plaintiffs

leave to amend their claims before dismissing a complaint that is merely deficient. See Grayson v.

Mayview State Hosp., 293 F.3d 103, 108 (3d Cir. 2002); Shane v. Fauver, 213 F.3d 113, 116-17 (3d

Cir. 2000).

        The Court should freely give leave to amend a Complaint “when justice so requires.” FRCP

15(a)(2); Fowler, supra. (“we note that the District Court inexplicably foreclosed Fowler from an

opportunity to amend her Complaint so as to provide further specifics…” Though the deadline for

amended pleadings had not yet expired, the District Court dismissed Fowler’s Complaint with



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prejudice in error) (emphasis added). The Court should grant Plaintiffs leave to amend their

Complaint unless futile or prejudicial, even if not requested. Adams v Gould, Inc., 739 F.2d 858,

868-870 (C.A.3 1984) (reversing district court denial of motion to amend a complaint to assert a

new legal theory); Arthur V. Maersk, Inc., 434 F.3d 196, 204-2017 (C.A.3 2006) (reversing district

court denial of motion to amend to add a new party approximately one year after initiation); Lorenz

v. CSX Corp., 1 F.3d 1406, 1414 (C.A.3 1993) (finding no prejudice three years after action and

two years after complaint was amended for second time). “Prejudice” is often used as a misnomer –

prejudice is not defined by the requirement of ongoing litigation or defense but instead results from

an inability to defend. Id.

        3. Jurisdiction

        Supplemental jurisdiction “must” be declined in lieu of adjudicating pendent State law

claims unless consideration is provided in affirmative justification otherwise. Borough of West

Mifflin v. Lancaster, 45 F.3d 780 (C.A.3 1995) (emphasis added); see, Carnegie-Mellon Univ. v.

Cohill, 484 U.S. 343, 350 n.7 (1988) (“in the usual case in which all federal-law claims are

eliminated before trial, the balance of factors to be considered under the pendent jurisdiction

doctrine—judicial economy, convenience, fairness, and comity—will point toward declining to

exercise jurisdiction over the remaining state-law claims”); see also, Annulli v. Panikkar, 200 F.3d

189, 202 (3d Cir. 1999).

        In adjudicating a peculiar State law question, that analysis should be left to the State Court.

Burford v. Sun Oil Co., 319 U.S. 315 (1943); Louisiana Power & Light Co. v. City of Thibodaux,

360 U.S. 25 (1959).

        4. Conclusion: Standard




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         When applying the correct standard, the FAC is sufficiently specific and Defendant

FNB’s Motion should be denied. In the alternative, Plaintiff should be granted leave to amend as

this Honorable Court is, respectfully, directed to allow.

II.      Argument

      A. The TILA Claim is Sufficiently Pleaded and Should not be dismissed

         First, the apparent defect on the face of the TILA disclosure is that it lists a “Pay Off Made

By Seller” in the amount of $5,600 but there is no indication thereon of who was paid this sum nor

any other credit documentation reflecting a pay off. Of course, this is because the pay off was a

fiction created by defendant Milford, FAC ¶¶23-25, 32-35. Not only is there a lack of support for

the $5,600 being a pay off, the credit documentation directly contradicts it, i.e. the $5,600 reduces

the vehicle’s purchase price in the MV-4ST by that amount (FAC Ex. “C”). To be reflected

consistently, it should have also reduced the principal amount of the loan in the TILA. Movant fails

to accept these allegations, and the complaint exhibits incorporated thereby, as true. Accordingly,

this factual dispute as to the nature and uses of the $5,600 payment is improperly raised at the 12b6

stage of this proceeding prior to discovery as to its impact on the accuracy of the TILA disclosures.

         Second, FNB simply misunderstands plaintiff’s argument in its attempt to address her

miscalculation of charges under TILA. Put simply, the down payment should not be negative in

item 2 of the TILA disclosure, it should be $5,600. While not specifically alleged, it is the logical

result of the FAC’s extensive allegations concerning the nature of the $5,600 being a down payment

of cash, not pay off of a fictitious lien, FAC ¶¶23-25, 37-44. This factual dispute is nonetheless

improperly raised at the 12b6 stage of this proceeding prior to discovery.

      B. Plaintiff withdraws claims against FNB under Counts II, III, IV, and V of the FAC

      Plaintiff withdraws her claims in this regard against defendant FNB only.



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    C. Prayer for Damages

        Plaintiff pleaded in error attorney fees against the defendants under 15 U.S.C. § 1691

intending instead to plead such under 15 U.S.C. § 1640(a)(3) consistent with her TILA allegations

and the absence of any preceding ECOA allegations. Plaintiff is entitled to amend her complaint in

this regard.

    WHEREFORE, plaintiff respectfully requests the Motion be denied as to all but.



Dated: Jan. 26, 2014                                RC 935
                                                    ROBERT P. COCCO, P.C.
                                                    Attorney for Plaintiff




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              PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO
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       In the interests of efficiency, Plaintiff relies upon the argument and legal citations in her

motion response and in the FAC regarding Movant’s arguments in the Motion.

       Conclusion

       The Motion fails under TILA for the reasons argued. Respectfully, the Motion should be

rejected by this Court and an Order entered to this effect accordingly.


Dated: Jan. 26, 2014                                   RC 935
                                                       ROBERT P. COCCO, P.C.
                                                       Attorney for Plaintiff




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                                       Certificate of Service

       I, Robert P. Cocco, counsel for Plaintiff, hereby certify that I filed the foregoing Response to

Defendant First National Bank’s Motion to Dismiss First Amended Complaint electronically and

that all parties of record have been served via ECF email.



Dated: Jan. 26, 2014                                   RC 935
                                                       ROBERT P. COCCO, P.C.
                                                       Attorney for Plaintiff




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